Case: 4:20-cr-00418-JAR-NAB Doc. #: 130 Filed: 03/02/21 Page: 1 of 2 PageID #: 893




                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION

  UNITED STATES OF AMERICA,                      )
                                                 )
                Plaintiff,                       )
                                                 )
         v.                                      )
                                                 )
                                                       Case No. S1 4:20 CR 418 JAR/NAB
  JAMES TIMOTHY NORMAN (1),                      )
  TERICA TANEISHA ELLIS (2),                     )
  WAIEL REBHI YAGHNAM (3), and                   )
  TRAVELL ANTHONY HILL (4),                      )
                                                 )
                Defendants.                      )

                             POST-HEARING SCHEDULING ORDER

        All pretrial matters in the above-referenced case have been referred to the undersigned

 United States Magistrate Judge pursuant to 28 U.S.C. § 636(b). On December 3, 2020, the

 undersigned Granted the Government’s Motion for Complex Case Finding and to Continue Trial

 Date Beyond Limits Set by the Speedy Trial Act [Doc. 100] and finds no reason to disturb that

 conclusion.

        On March 2, 2021, this matter came before the undersigned for an attorneys-only

 conference to discuss the status of discovery and the setting of a preliminary pretrial motion

 schedule. For the reasons stated on the record, and without objection, the undersigned sets the

 following deadlines.

        Accordingly,

        IT IS HEREBY ORDERED that Defendants shall have until May 3, 2021 to file any

 challenges to the indictment, and the Government shall have until May 17, 2021 to respond.
Case: 4:20-cr-00418-JAR-NAB Doc. #: 130 Filed: 03/02/21 Page: 2 of 2 PageID #: 894




        IT IS FURTHER ORDERED that Defendants shall have until July 2, 2021 to file any

 pretrial motions, or notices of intent not to file pretrial motions, and the Government shall have

 until July 16, 2021 to respond.




                                                 NANNETTE A. BAKER
                                                 UNITED STATES MAGISTRATE JUDGE

 Dated this 2nd day of March, 2021.
